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                              UNITED STATES BANKRUPTCY COURT

                               EASTERN DISTRICT OF LOUISIANA

    In re:
                                                           Case No. 20-10846
    THE ROMAN CATHOLIC CHURCH OF
    THE ARCHDIOCESE OF NEW ORLEANS,                        Section “A”

                 Debtor. 1                                 Chapter 11



       DEBTOR’S EXPEDITED MOTION TO STRIKE OBJECTION TO MOTION TO
       EMPLOY PROFESSIONALS IN THE ORDINARY COURSE OF BUSINESS AND
          REQUEST TO MAKE DOCUMENTS PUBLIC UNDER 11 U.S.C. § 107


                        EXPEDITED RELIEF HAS BEEN REQUESTED. A
                        TELEPHONIC HEARING WILL BE CONDUCTED ON THIS
                        MATTER ON JULY 16, 2020, AT 1:30 P.M. THE DIAL-IN
                        INFORMATION FOR SECTION A IS 1-888-684-8852;
                        CONFERENCE CODE 9318283. IF YOU OBJECT TO THE
                        RELIEF REQUESTED, OR YOU BELIEVE THAT
                        EXPEDITED CONSIDERATION IS NOT WARRANTED, YOU
                        MUST MAKE YOUR OBJECTION AT THE TELEPHONIC
                        HEARING, OR FILE A WRITTEN OBJECTION BEFORE THE
                        HEARING. OTHERWISE, THE COURT MAY TREAT THE
                        PLEADING AS UNOPPOSED AND GRANT THE RELIEF
                        REQUESTED.




             1
            The last four digits of the Debtor’s federal tax identification number are 8966. The
   Debtor’s principal place of business is located at 7887 Walmsley Ave., New Orleans, LA 70125.



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            NOW INTO COURT, through undersigned counsel, comes The Roman Catholic Church

   of the Archdiocese of New Orleans, the above-captioned debtor and debtor-in-possession (the

   “Debtor” or the “Archdiocese”), who files this Motion to Strike (the “Motion to Strike”) the

   Objection of a Certain Abuse Victim-Survivor to the Debtor’s Motion for Entry of an Order

   Authorizing the Debtor to Employ Professionals in the Ordinary Course of Business and Request

   to Make Documents Public under 11 U.S.C. § 107 (the “Objection”) [ECF No. 224]. The

   Objection suffers from numerous procedural deficiencies, which evidence a complete

   disregard for this Court’s rules and procedures, the Federal Rules of Bankruptcy Procedure,

   and the authority of other courts. For the following reasons, the Objection should be stricken

   from the record:

                                              Authority

            1.    The authority for the relief requested herein is § 105(a) of the Bankruptcy Code, 11

   U.S.C. §101 et seq. (the “Bankruptcy Code”), Rule 2019(e) of the Federal Rules of Bankruptcy

   Procedure (as amended, the “Bankruptcy Rules”), as well as, the Uniform Local Rules of the

   United States Bankruptcy Court for the Eastern District of Louisiana (the “Local Rules”) and

   General Order 2019-4 (the “Complex Case Procedures”).

                                       Procedural Background

            2.    On May 1, 2020 (the “Petition Date”), the Archdiocese filed a voluntary petition

   for relief under the Bankruptcy Code (this “Chapter 11 Case”).

            3.    The Archdiocese remains in possession of its property and is managing its business

   as a debtor in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.




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            4.    The Official Committee of Unsecured Creditors (the “Creditors’ Committee”)

   was appointed on May 20, 2020 [ECF Nos. 94 and 114], as amended on June 10, 2020 [ECF No.

   151].

                                        Factual Background

            5.    J.W. Doe is the Plaintiff in a separate lawsuit that the Debtor has removed to the

   United States District Court for the Eastern District of Louisiana, Case No. 2:20-cv-01321, J.W.

   Doe v. The Roman Catholic Church of the Archdiocese of New Orleans.

            6.    While the J.W. Doe case was still in state court, the Honorable Nakisha Ervin-Knott

   entered a protective order (the “J.W. Doe Protective Order”), attached hereto as Exhibit “A.”

            7.    The J.W. Doe Protective Order provides that:

                      Any documents designated as “Confidential” may be
                      disclosed only to independent experts, consultants, and
                      support personnel retained by the Parties for the purpose of
                      this litigation; the Court and its staff; court reporters;
                      deponents; and trial witnesses; and such information may
                      be used or disclosed only in connection with, or
                      preparation for, the prosecution, defense, or appeal of
                      this case and shall not be used or disclosed for any other
                      purpose, including, without limitation, any publicity, press
                      release, marketing, research, or in any other context or in
                      any other legal case, lawsuit proceeding, or
                      investigation, or otherwise except as ordered by the Court.

   Exhibit A.

            8.    The Archdiocese produced confidential documents pursuant to the J.W. Doe

   Protective Order, which among other things, specifically prohibits such confidential information

   from being used in any other legal proceeding other than the J.W. Doe case. See Id.

            9.    The protective order also limits the disclosure of such documents to those

   specifically named in the order, including the parties’ experts and consultants, court staff,

   deponents, and witnesses in the J.W. Doe case. Id.

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            10.   Counsel for J.W. Doe represent numerous plaintiffs in various tort cases involving

   the Archdiocese. See Notice of Appearance and Request for Notices of Papers [ECF No. 37].

            11.   Counsel for J.W. Doe, in emails to the Court, has complained that he does not

   understand bankruptcy procedure, and begs for the Court’s forgiveness and legal advice instead of

   hiring competent counsel to advance his interests. On July 9, 2020, counsel for J.W. Doe filed his

   Ex Parte Motion of A Certain Abuse Victim-Survivor for an Order Pursuant to Bankruptcy Code

   Sections 105(a) and 107 and Bankruptcy Rule 9018 Authorizing Partial Filing Under Seal (the

   “Motion to Seal”)[ECF No. 225]. There is no local rule that allows for the filing of the Motion to

   Seal ex parte. See LBR 9013-1(D). If a motion is filed ex parte, the Local Rules require that the

   movant inform the Court “whether consent to ex parte relief has been obtained from all interested

   parties, and if not, which parties have not consented to the relief.” Counsel to J.W. Doe flouted

   this rule by glibly stating, “J.W. Doe is requesting that the Archdiocese consent to this Motion [to

   Seal] and proposed order.” [ECF No. 225 at para. 11]. The first time that the Archdiocese learned

   that the Motion to Seal would be filed was upon its filing. Counsel for J.W. Doe did not request

   consent as required by the Local Rules.

            12.   Moreover, the Motion to Seal suggested that the Committee and the United States

   Trustee be served with the sealed documents in direct contradiction of the J.W. Doe Protective

   Order. On July 10, 2020, counsel for J.W. Doe inappropriately asked this Court for legal advice

   with regards to the documents he wished to disclose.

                  Frankly, since I do not practice bankruptcy law, I would like some
                  guidance as to whether I can provide these documents to the United
                  States Trustee at the same time as I send to the Court and copy Mr.
                  Mintz. I am not sure of the procedure.2


            2
           Email from Soren Gisleson to Abigail Markowitz and Anna Mangham attached hereto as
   Exhibit “B.”

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            13.    Shortly thereafter, in violation of the Protective Order, and without waiting for a

   court order, or a promised objection from the Debtor, J.W. Doe sent the sealed documents to Court

   personnel.3 On July 12, 2020, counsel for J.W. Doe again revealed his lack of knowledge about

   bankruptcy court procedure when he asked the Court for legal advice on how to set an expedited

   hearing.4 “Please advise us if we should file anything to have the Motion for Leave [sic] scheduled

   for contradictory hearing with oral argument.”5 Despite choosing to become involved in this

   bankruptcy proceeding, counsel for J.W. Doe has decided to remain willfully ignorant of the rules

   governing his conduct.

                                           Relief Requested

            14.   The Archdiocese requests that the Court strike the Objection in its entirety for its

   failure to comply with the Local Rules, the Complex Case Procedures, and the Bankruptcy Rules.

   Any one of the numerous procedural defects provides independent grounds for striking the

   objection, but taken together, they demonstrate an utter disregard for this Court’s procedures and

   the independent authority of other courts.

                                            Basis for Relief

       A. The Objection Improperly Requests Relief that May Only Be Sought Through a
          Motion

            15.   Although styled as an objection to the Motion for Entry of an Order Authorizing

   the Debtor to Employ Professionals in the Ordinary Course of Business [ECF No. 191], the


            3
           Email from Soren Gisleson to Abigail Markowitz and Anna Mangham attached hereto as
   Exhibit “C.”
            4
           Email from Soren Gisleson to Abigail Markowitz and Anna Mangham attached hereto as
   Exhibit “D.”
            5
            It is unclear in this correspondence with the Court, which is entirely written in the first
   person plural, who Mr. Gisleson is representing.

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   Objection does not argue the actual merits of the motion at issue. Instead, the Objection spends

   fourteen pages rehashing supposed grievances with counsel for the Debtor and requesting that the

   Court unseal documents subject to the J.W. Doe Protective Order.

            16.   Even if such a request were properly before this Court—which it is not—for reasons

   discussed later in this Motion to Strike, relief from the J.W. Doe Protective Order must be sought

   through a properly noticed motion.

            17.   The Objection requests affirmative relief pursuant to Bankruptcy Code § 107 and

   an evidentiary hearing. Regardless of the title that J.W. Doe’s counsel chooses to bestow on the

   Objection, this request is in fact and in substance a motion. See Bankruptcy Rule 9013 (“A request

   for an order . . . shall be by written motion”).

            18.   The Objection’s request for affirmative relief suffers from numerous deficiencies.

   See Local Rule 9013-1(B) (failure to provide twenty-one days’ notice); 9013-1(C) (no request for

   expedited hearing); 9013-1(D) (improper ex parte motion); Complex Case Procedures III(B)-(E)

   (improper noticing and heading).

            19.   At a minimum, the Court is well within its right to strike the offending Objection

   for its numerous deficiencies. Morrison v. Walker, No. 1:13-cv-327, 2014 U.S. Dist. LEXIS

   187234, *10-11 (E.D. Tex. Dec. 2, 2014) (striking pleadings for failure to include a proper

   certificate of conference and warning that “[t]he next violation will be met with harsher sanctions

   than just striking the offending document, including, but not limited to: dismissal of the lawsuit

   with prejudice”); see also Webb v. Morella, 457 F. App’x 448, 452 (5th Cir. 2012) (unpublished)

   (per curiam) (a court’s “discretionary authority to formulate and enforce local rules for the orderly

   and expeditious handling of cases is quite broad” and only the granting of a dispositive motion

   based on a failure to comply warrants heightened scrutiny); In re King, No. 06-40146 , 2006 Bankr.



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   LEXIS 1416, *13 (Bankr. N.D. Ind. 2006) (“Ignorance of the court’s local rules does not excuse

   failing to comply with them.”).

            20.   Indeed, the repeated violation of the court’s Local Rules borders on the willful,

   which could open up counsel for J.W. Doe to sanctions. See In re Depugh, 409 B.R. 125, 141

   (Bankr. S.D. Tex. 2009 (“Only a violation of a requirement of form must be willful before the

   court may sanction the party; a court may sanction any other violation of its local rules even if

   nonwillful” (quoting Barbosa v. Cnty. of El Paso, No. 97-51098, 158 F.3d 584, 1998 U.S. App.

   LEXIS 39641, *6-7, at *2 n.1 (5th Cir. Sept. 8, 1998) (unpublished)).

            21.   This Court should treat the Objection as what it really is—a disguised motion to

   unseal documents. Because it does not comply with this Court’s procedures for noticing and filing

   motions, it should be stricken from the record.

       B. The Objecting Attorneys Have Failed to Comply with Bankruptcy Rule 2019

            22.   The Court should further strike the Objection because J.W. Doe’s attorneys, who

   represent multiple claimants in this bankruptcy proceeding, have failed to comply with Bankruptcy

   Rule 2019.

            23.   Bankruptcy Rule 2019 provides that:

                  In a chapter 9 or 11 case, a verified statement . . . shall be filed by
                  every group or committee that consists of or represents, and every
                  entity that represents, multiple creditors or equity security holders
                  that are (A) acting in concert to advance their common interests, and
                  (B) not composed entirely of affiliates or insiders of one another.

   Fed. R. Bankr. P. 2019(b)(1).

            24.   “Bankruptcy Rule 2019 applies to attorneys that seek to represent more than one

   creditor or equity interest holder.” In re N. Bay Gen. Hosp., Inc., 404 B.R. 443, 452 (Bankr. S.D.

   Tex. 2009); Muralo Co. v. All Defendants Listed on Exhibits A Through D to Complaint (In re



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   Muralo Co.), 295 B.R. 512, 524 (Bankr. D.N.J. 2003) (“Rule 2019(a) requires entities, including

   counsel, who would represent in a chapter 11 case more than one creditor, to file a verified

   statement listing those creditors.”).

            25.   Rule 2019 is a “‘disclosure provision’ designed to ensure that lawyers involved in

   the Chapter 11 reorganization process adhere to certain ethical standards and approach all

   reorganization related matters openly and subject to the scrutiny of the court.” Baron & Budd, P.C.

   v. Unsecured Asbestos Claimants Comm., 321 B.R. 147, 165 (D.N.J. 2005); see also In re CF

   Holding Corp., 145 B.R. 124, 126 (Bankr. D. Conn. 1992) (“The purpose of Rule 2019 is to further

   the Bankruptcy Code’s goal of complete disclosure during the business reorganization process,

   and was designed to cover entities which, during the bankruptcy case, act in a fiduciary capacity

   to those they represent, but are not otherwise subject to the control of the court.”). It is the height

   of irony for J.W. Doe to demand openness from the Archdiocese while at the same time eschewing

   the disclosures that apply to him.

            26.   The failure to comply with Rule 2019 is not a mere technicality. “[A]pplication of

   Rule 2019 prevent[s] conflicts of interest among Creditors' counsel from undermining the fairness

   of the Plan, bringing to bear the values of good faith and fairness in the reorganization process that

   pervade the bankruptcy code.” Baron & Budd, P.C., 321 B.R. at 167. Counsel for J.W. Doe is

   also counsel for another claimant, James Doe. J.W. Doe’s attorneys have, in violation of the J.W.

   Doe Protective Order, used confidential information from that case to bolster their position in the

   cases of other plaintiffs that they represent. See, James Doe v. The Roman Catholic Church of the

   Archdiocese of New Orleans, Case No. 20-cv-1338 [ECF No. 9-1 at p. 18] (attaching documents

   from the J.W. Doe case to a motion to remand pending before the Honorable Carl Barbier). The




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   failure disclose his multiple representations prejudices the Archdiocese and other parties in

   interest.

            27.   Further, Rule 2019 expressly provides that the Court may sanction a failure to

   comply with its provisions:

                  If the court finds such a failure to comply, it may:

                  (A) refuse to permit the entity, group, or committee to be heard or
                  to intervene in the case;

                  (B) hold invalid any authority, acceptance, rejection, or objection
                  given, procured, or received by the entity, group, or committee; or

                  (C) grant other appropriate relief.

   Fed. R. Bankr. P. 2019(e)(2) (emphasis added).

            28.   “The consequences of a purported agent’s failure to comply with Bankruptcy Rule

   2019 are largely a matter for the bankruptcy court’s discretion.” N. Bay Gen. Hosp., 404 B.R. at

   453. And courts have granted severe sanctions for failure to comply. See, e.g., Gulf States

   Exploration Co. v. Manville Forest Prods. Corp. (In re Manville Forest Prods. Corp.), 89 B.R.

   358 (Bankr. S.D.N.Y. 1988) (disallowing a proof of claim for failure to comply with Rule 2019);

   In re Vestra Indus. Inc., 82 B.R. 21, 22-23 (Bankr. D.S.C. 1987) (precluding a party that failed to

   comply with Rule 2019 from representing multiple creditors in a chapter 11 case).

            29.   This bankruptcy case has been pending for over two months, yet J.W. Doe’s

   attorneys have still not filed a verified statement pursuant to Bankruptcy Rule 2019. Without such

   disclosures, it is difficult for the Court and the Debtor to tell whether the Objection represents a




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   good faith attempt to represent the interests of J.W. Doe, or a procedural posture in an attempt to

   gain leverage for a select group of claimants in this Chapter 11 Case and related proceedings.6

            30.   At a minimum, this Court should refuse to permit J.W. Doe’s attorneys to

   participate further in this case, including by filing and arguing the Objection, until they have

   complied with Rule 2019.

       C. The Objection Is Nothing More Than an Attempted End Run Around the State Court
          Protective Order

            31.   The Objection is nothing more than an obvious attempt to circumvent the J.W. Doe

   Protective Order, originally entered by the state court prior to removal to the district court, which

   is not allowed under the Rooker-Feldman doctrine.

            32.   Issues concerning the production and unsealing of these documents are inextricably

   intertwined with the J.W. Doe Protective Order. This Court lacks jurisdiction to conduct such a

   review pursuant to the Rooker-Feldman Doctrine. Jurisdiction regarding the J.W. Doe Protective

   Order now lies with the district court in the matter, entitled J.W. Doe v. The Roman Catholic

   Church of the Archdiocese of New Orleans, et al, Case No. 2:20-cv-01321, Section T-5, United

   States District Court, Eastern District of Louisiana. If J.W. Doe seeks relief from the J.W. Doe

   Protective Order, it must seek such relief before the district court in the J.W. Doe case, not this

   Court.

                                                 Notice

            33.   Notice of this Motion has been provided to the parties identified in this Court’s Ex

   Parte Order Authorizing the Debtor to Limit Notice and Establishing Notice Procedures [ECF No.

   22], including: (a) creditors who claim to hold security interests or liens, including Hancock


            6
            This question is more than mere speculation, as shown by the filings in the James Doe
   case referred to supra.

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   Whitney Bank, KS State Bank, and Dell Financial Services LP, together with any of their known

   counsel; (b) the Archdiocese’s twenty (20) largest unsecured creditors, together with any of their

   known counsel; (c) the creditors appointed to serve on the Creditors’ Committee, together with

   any counsel for the Creditors’ Committee; (d) all parties who have requested special notice

   pursuant to Bankruptcy Rule 2002, together with any of their known counsel; (e) the Office of the

   United States Trustee for the Eastern District of Louisiana; and (f) all applicable governmental

   agencies to the extent required by the Bankruptcy Rules and Local Rules, together with any of

   their known counsel. In light of the nature of the relief requested herein, the Debtor submits that

   no other or further notice is necessary.

                                              Conclusion

            WHEREFORE, the Archdiocese respectfully requests that the Court issue an order an

   order striking the improperly filed Objection and for such other relief as the Court may deem just

   and proper.

   Dated:         July 13, 2020



                                                Respectfully submitted,




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                                               /s/ Mark A. Mintz_________________
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                                        ATTORNEYS FOR THE ROMAN CATHOLIC
                                        CHURCH OF THE ARCHDIOCESE OF NEW
                                        ORLEANS




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